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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA

v.                                          CRIMINAL NO. 1:03cr98LG-JMR-01

URARAH PAUL MARTIN a/k/a Big Scooby


                    ORDER GRANTING GOVERNMENT’S MOTION
                         FOR REDUCTION OF SENTENCE

       BEFORE THE COURT is the Government’s Motion for Reduction of Sentence

pursuant to FED. R. CRIM. P. 35(b) filed November 8, 2006, in the above captioned cause.

Based on the Government'
                       s recommendation and representation concerning the substantial

assistance rendered by the above-captioned individual, the Court finds that the Government’s

Motion for Reduction of Sentence is well taken and should be granted. Accordingly,

       IT IS ORDERED AND ADJUDGED that the Government’s Motion for Reduction of

Sentence pursuant to FED. R. CRIM. P. 35 (b) filed November 8, 2006, [74-1] should be and is

hereby GRANTED.

       IT IS FURTHER ORDERED AND ADJUDGED that the sentence of imprisonment

of URARAH PAUL MARTIN a/k/a Big Scooby, in Criminal No. 1:03cr98DCB-JMR should

be and is hereby reduced to 92 months in the custody of the Bureau of Prisons.

       IT IS FURTHER ORDERED AND ADJUDGED that in all other aspects, the sentence

remains the same.

       SO ORDERED AND ADJUDGED this the 16th day of November, 2006.


                                                    s/
                                                    LOUIS GUIROLA, JR.
                                                    UNITED STATES DISTRICT JUDGE
